       Case 3:02-cr-00095-LC        Document 208     Filed 08/11/06    Page 1 of 8



                                                                                  Page 1 of 8


                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                     3:02cr95/LAC
                                                        3:06cv79/LAC/MD

STEVEN WATTS


                          REPORT AND RECOMMENDATION

       This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 197). The government has filed a response
(doc. 205) and the defendant has filed a reply (doc. 207). The matter is referred to the
undersigned magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636
and N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the arguments
presented, it is the opinion of the undersigned that defendant has not raised any issue
requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and (b), and
that the motion should be denied.


I. BACKGROUND
       Defendant was charged in one count of a four count indictment with conspiracy to
distribute and to possess with intent to distribute more than 5 kilograms of a mixture or
substance containing a detectable amount of cocaine and fifty gram or more of a mixture
or substance containing cocaine base. (Doc. 27). After a jury trial, he was found guilty of
the conspiracy charge, but the jury found that the evidence established that the offense
conduct involved fifty grams or more of cocaine base, but less than 5 kilograms of cocaine.
(Doc. 138). After amendment due to counsel’s objections to the drug quantity calculation
         Case 3:02-cr-00095-LC              Document 208           Filed 08/11/06         Page 2 of 8



                                                                                                        Page 2 of 8


and the application of the career offender provision, the PSR attributed 793.80 grams of
cocaine base to the defendant, which equated to a base offense level of 36. Factoring in
a two level adjustment for obstruction of justice pursuant to § 3C1.1 of the sentencing
guidelines, defendant’s total offense level was 38 and his criminal history category was IV.
The applicable guidelines range was 324 to 405 months imprisonment.
        He was sentenced to a term of 364 months imprisonment followed by ten years of
supervised release, a fine of $1,000 and a $100 special monetary assessment.
Defendant’s conviction and sentence were affirmed on appeal,1 and his petition for
certiorari review with the United States Supreme Court was denied on February 22, 2005.
Watts v. United States, 543 U.S. 1174, 125 S.Ct. 1369, 161 L.Ed.2d 156 (2005).
        In the present motion, defendant contends that his sixth amendment right to a jury
trial was violated, that the jury failed to find a particular drug quantity, and that counsel was
ineffective for failing to file a petition for rehearing. The government opposes the motion
in its entirety, contending that the first two claims are simply Booker arguments made
without citation to Booker itself, and that the ineffective assistance of counsel claim is too
vague and speculative to warrant § 2255 relief.


II. LEGAL ANALYSIS
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A prisoner
is entitled to relief under section 2255 if the court imposed a sentence that (1) violated the
Constitution or laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the
maximum authorized by law or (4) is otherwise subject to collateral attack. 28 U.S.C. §


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          On app eal, de fendan t argu ed that: (1) the district court erred in admitting into evidence audio tapes
and trans cripts of conversations between him and others that had not been properly authenticated; (2) drugs
seized during a search of his car should have been suppressed because the search was illegal; (3) there was
no evidence that the nine ounces of cocaine seized from his rental car were part of the charged conspiracy
and thus this am ount should not have been included in the district court’s calculations of drug quantity; and
(4) the prosecutor’s statements during closing argument denied him a fair trial by shifting the burden of proof.
(Doc. 193 at 2). W ith respect to the second issue, the appellate court noted that it had already decided this
question adversely to the defendant on an interlocutory appea l taken by the governm ent after the m otion to
sup pres s ha d be en g rante d.

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC           Document 208   Filed 08/11/06   Page 3 of 8



                                                                                     Page 3 of 8


2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000); United States v.
Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). “Relief under 28 U.S.C. § 2255 ‘is reserved
for transgressions of constitutional rights and for that narrow compass of other injury that
could not have been raised in direct appeal and would, if condoned, result in a complete
miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)
(citations omitted). “[A] non-constitutional error that may justify reversal on direct appeal
does not generally support a collateral attack on a final judgment, unless the error (1) could
not have been raised on direct appeal and (2) would, if condoned, result in a complete
miscarriage of justice.” Lynn, 365 F.3d at 1232-33 (citations omitted); Hill v. United States,
368 U.S. 424, 428, 82 S.Ct. 468, 7 L.Ed.2d 417 (1962) (error of law does not provide basis
for collateral attack unless claimed error constituted a “fundamental defect which inherently
results in a complete miscarriage of justice.”). The “fundamental miscarriage of justice”
exception recognized in Murray v. Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649, 91
L. Ed. 2d 397 (1986), provides that it must be shown that the alleged constitutional violation
“has probably resulted in the conviction of one who is actually innocent. . . .”
        Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is entitled to
no relief,” a defendant must support his allegations with at least a proffer of some credible
supporting evidence. Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983).
A hearing is not required on frivolous claims, conclusory allegations unsupported by
specifics, or contentions that are wholly unsupported by the record. Peoples v. Campbell,
377 F.3d 1208, 1237 (11th Cir. 2004); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.
1991); Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted).
Likewise, affidavits that amount to nothing more than conclusory allegations do not warrant
a hearing. Lynn, 365 F.3d at 1239.
        Defendant first contends that his sentence was unjustly enhanced by a “charge of
perjury” that was not presented to the jury, and that counsel was ineffective for his failure
to make this argument. Defendant obviously refers to the two level obstruction of justice
enhancement. As noted above, the government argues that defendant’s claim is merely

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC           Document 208   Filed 08/11/06     Page 4 of 8



                                                                                       Page 4 of 8


an argument made pursuant to United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160
L.Ed.2d 621 (2005), and that until the Supreme Court rules otherwise, this court is bound
by the Eleventh Circuit’s decision in Varela v. United States, 400 F.3d 864, 866-868 (11th
Cir.), cert. denied, 126 S.Ct. 312, 163 L.Ed.2d 269 (2005), holding that Booker is not
retroactive on collateral review. See also In re Anderson, 396 F.3d 1336 (11th Cir. 2005)
(holding that only the Supreme Court can make a new rule retroactive on collateral review,
and that it must do so explicitly). Defendant argues in his reply memorandum, splicing
hairs, that his argument must be considered in light of both Apprendi v. New Jersey, 530
U.S. 466, 120 S.Ct. 2348, 2362-63, 147 L.Ed.2d 435 (2000), and Booker. Apprendi, of
course, held that “[o]ther than the fact of a prior conviction, any fact that increases the
penalty for a crime beyond the prescribed statutory maximum must be submitted to a jury,
and proved beyond a reasonable doubt.” 530 U.S. at 490, 120 S.Ct. at 2362-63. The
statutory maximum for an individual such as the defendant who was convicted of an
offense involving fifty (50) grams or more of a mixture or substance containing cocaine
base pursuant to 21 U.S.C. § 841(b) is life imprisonment. Therefore, the two level
adjustment for obstruction of justice was not violative of the principles set forth in Apprendi,
because it did not increase his sentence above the statutory maximum.
        Additionally, defendant has not suggested any factual basis for a challenge to the
obstruction of justice adjustment. He openly testified at trial that he was a drug dealer, but
denied having anything to do with the distribution of cocaine in the charged conspiracy.
(Doc. 158 at 222-279). He claimed that the witnesses against him had all lied about his
involvement, and that the police had planted the cocaine that was found secreted in his
rental vehicle. In order to convict him, the jury, of necessity, had to find that his testimony
was untrue.         Therefore, the undisputed facts triggered the obstruction of justice
enhancement, see, e.g., United States v. Mathis, ___ F.3d ___, 2006 WL 2087568 (11th
Cir. 2006), and there is no basis for relief.
        Defendant’s second argument relating to drug quantity is unclear. He appears says
that the jury failed to determine a specific drug quantity, although the verdict form clearly
reflects that the jury did make specific factual findings about the quantity of drugs

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC            Document 208         Filed 08/11/06      Page 5 of 8



                                                                                             Page 5 of 8


attributable to him. (Doc. 138). His assertion is factually incorrect, and he is not entitled
to relief.
        Defendant’s final claim is that counsel was ineffective because he failed to move for
a rehearing. No factual detail is provided in the original motion, although in his reply he
indicates that counsel should have moved for rehearing based on Booker. To show a
violation of his constitutional right to counsel, defendant must demonstrate both that
counsel’s performance was below an objective and reasonable professional norm and that
he was prejudiced by this inadequacy. Strickland v. Washington, 466 U.S. 668, 686, 104
S.Ct. 2052, 2064, 80 L.Ed.2d (1984); Williams v. Taylor, 529 U.S. 362, 390, 120 S.Ct.
1495, 1511, 146 L.Ed.2d 389 (2000). In applying Strickland, the court may dispose of an
ineffective assistance claim if defendant fails to carry his burden on either of the two
prongs. 466 U.S. at 697, 104 S.Ct. at 2069. To establish ineffective assistance, defendant
must provide factual support for his contentions regarding counsel’s performance. Smith
v. White, 815 F.2d 1401, 1406-07 (11th Cir.), cert. denied, 484 U.S. 863, 108 S.Ct. 181, 98
L.Ed.2d 133 (1987). Bare, conclusory allegations of ineffective assistance are insufficient
to satisfy the Strickland test. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991);
Stano v. Dugger, 901 F.2d 898, 899 (11th Cir. 1990) (citing Blackledge, 431 U.S. at 74, 97
S.Ct. at 1629). In this case, the court will consider the argument or clarification contained
in the defendant’s reply memorandum as though it had been presented in his initial motion.
        In order to preserve a Blakely2/Booker claim, a defendant either must (1) refer to the
Sixth Amendment; (2) Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d
435 (2000), or another related case; (3) assert the right to have the jury decide the
disputed fact; or (4) raise a challenge to the role of the judge as factfinder. United States
v. Dowling, 403 F.3d 1242, 1246 (11th Cir. 2005). Counsel did not raise any of these
issues on appeal, and a petition for rehearing based on Booker would almost certainly
have been denied. Even in cases where Blakely or Booker was decided during the
pendency of the direct appeal, after briefing but before a final decision, the Eleventh Circuit


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            Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L .Ed.2d 40 3 (2004).

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC           Document 208      Filed 08/11/06      Page 6 of 8



                                                                                           Page 6 of 8


has denied motions to supplement. See United States v. Higdon, 418 F.3d 1136 (11th Cir.
2005). In Higdon, the defendant filed a petition for rehearing en banc based on the court’s
denial of his motion to supplement. In denying his petition for rehearing, the court noted
that defendant had not challenged the constitutionality of any extra-verdict sentencing
enhancement or asserted that the district court lacked the authority to impose the
enhancements under a preponderance of the evidence standard in either the district court
or in his initial brief on appeal, but had done so only in his motion to file a supplemental
brief. Id. 418 F.3d at 1137. The court stated that it:
        has repeatedly followed the prudential rule that new issues not raised in
        opening briefs will not be considered by the court. See e.g., United States v.
        Sears, 411 F.3d 1240, 1241 (11th Cir. 2005); United States v. Verbitskaya,
        406 F.3d 1324, 1339-40 (11th Cir. 2005); United States v. Day, 405 F.3d
        1293, 1294 n. 1 (11th Cir. 2005); United States v. Dockery, 401 F.3d 1261
        (11th Cir. 2005); United States v. Ardley, 273 F.3d 991, 991-95 (11th Cir.
        2001) (Carnes, J., concurring in the denial of rehearing en banc) (collecting
        cases); United States v. Nealy, 232 F.3d 825, 830 (11th Cir. 2000). Thus, this
        Court, consistent with this rule, denied Higdon's motion and refused to
        consider his belated attempt to raise a Blakely issue in supplemental briefing.

Id., 418 F.3d at 1137. The court further explained that in the event that new authority
comes to light after a brief is filed, parties may submit supplemental authority on
“intervening decisions or new developments” regarding issues already properly raised in
the initial briefs, or they can seek permission to file supplemental briefs on this new
authority.     Id. 418 F.3d at 1137 n.2. (Citing Nealy, 232 F.3d at 830 (internal citations
omitted)).     However litigants cannot raise entirely new issues at supplemental briefing,
even if the issues arise based on the intervening decisions or new developments cited in
the supplemental authority. Id. The court also noted on remand by the Supreme Court
that it had recently denied the appeal of a defendant raising a Booker claim because he
had failed to raise it either in the district court or in the initial brief. United States v. Higdon,
159 Fed.Appx. 96 (11th Cir. 2005) (citing United States v. Dockery, 401 F.3d 1261 (11th Cir.
2005)). Therefore, failure to raise a Booker, Blakely or related claim earlier is dispositive
of a defendant’s belated attempt to present such a claim for the first time in a supplemental
brief, or presumably in a petition for rehearing. See also United States v. Alexis, 146

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC              Document 208            Filed 08/11/06         Page 7 of 8



                                                                                                         Page 7 of 8


Fed.Appx. 469 (11th Cir. 2005), cert denied, Alexis v. United States, 126 S.Ct. 1488 (2006);
United States v. Sears, 411 F.3d 1240, 1241 (11th Cir. 2005); United States v. Levy, 416
F.3d 1273 (11th Cir. 2005).
        Furthermore, to the extent defendant might wish to argue that counsel was
ineffective in not raising Blakely/Booker issues at sentencing, such an argument also fails.
Trial counsel’s failure to predict a change in the law does not constitute deficient
performance. See United States v. Ardley, 273 F.3d 991, 993 (11th Cir. 2001) (citing
Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994) (“We have held many times
that ‘[r]easonably effective representation cannot and does not include a requirement to
make arguments based on predictions of how the law may develop.’”) (citations to three
other Eleventh Circuit decisions omitted); Davis v. Singletary, 119 F.3d 1471, 1476 (11th
Cir. 1997) (“[i]t was not professionally deficient for [counsel] to fail to anticipate that the law
in Florida would be changed in the future to bar the admission of hypnotically induced
testimony.”) Pitts v. Cook, 923 F.2d 1568, 1572-74 (11th Cir. 1991); Thompson v.
Wainwright, 787 F.2d 1447, 1459 n. 8 (11th Cir. 1986) (“defendants are not entitled to an
attorney capable of foreseeing the future development of constitutional law”)). This is true
even when the change is such that the forfeited issues was, in hindsight, a sure winner.
Id. (Citing Wright v. Hopper, 169 F.3d 695, 707-708 (11th Cir. 1999) (Batson issue); Elledge
v. Dugger, 823 F.2d 1439, 1443 (11th Cir. 1987) (Michigan v. Mosley issue); Thompson v.
Wainwright, 787 F.2d at 1459 n. 8 (Ake issue)).3 Therefore, defendant has not shown that

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            The irony, and potential inequity of this position does not escape the court. Neither Booke r nor
Bla kely app lies retro active ly to cases o n co llateral rev iew. Varela v. United States, 400 F.3d 864, 866-868
(11 th Cir.), cert. denied, 126 S.Ct. 312, 163 L.Ed.2d 269 (2005); see also In re Anderson, 396 F.3d 1336 (11th
Cir. 2005) (holding that only the Supreme Court can make a new rule retroactive on collateral review, and that
it m ust do so exp licitly); Bey v. United States, 399 F.3d 1266, 1269 (10th Cir. 2005) (“Booker may not be
applied retroa ctively to se con d or s ucc ess ive habea s pe titions.”); Humphress v. United States, 398 F.3d 855,
860 (6 th Cir. 2005) (“[W]e conclude that Booker’s rule does not apply retroactively in collateral
proc eed ings....”); Green v. United States, 397 F.3d 101 , 103 (2 nd Cir. 2005) (per curiam ) (“[N]either Booker
nor Blakely [v. W ashington, 542 U .S. ----, 124 S.C t. 25 31, 159 L.Ed .2d 403 (2 004),] ap ply re troactively to
Gree n's collateral challenge.”); McReynolds v. United States, 397 F.3d 479, 481 (7 th Cir. 2005) (“Booker does
not apply retroactively to criminal cases that became final before its release on January 12, 2005 .”); Cirilo-
Munoz v. United S tates, 404 F.3d 5 27, 533 (1 st Cir. 2005) (it is unlikely that the Suprem e Cou rt will adop t a
retroactivity analysis that opens up to required reexamination practically all of the federal sentences imposed
since the guidelines went into effect in 1987). Therefore, in order for a defendant whose case was pending
on appeal when Bla kely or Booker was decided to have benefitted from those cases, c ounsel would

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
         Case 3:02-cr-00095-LC              Document 208            Filed 08/11/06         Page 8 of 8



                                                                                                         Page 8 of 8


counsel’s failure to file a petition for rehearing was constitutionally deficient and he is not
entitled to relief.


        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 197) be DENIED.


        At Pensacola, Florida, this 11th day of August, 2006.




                                                 /s/   Miles Davis
                                                       MILES DAVIS
                                                       UNITED STATES MAGISTRATE JUDGE



                                         NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. Any different deadline that may appear on the
electronic docket is for the court’s internal use only, and does not control. A copy
of objections shall be served upon all other parties. Failure to object may limit the scope
of appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858
F.2d 698, 701 (11th Cir. 1988).




essentia lly have to have anticipated a change in the law, wh ich is not constitutionally required under Strickland.


Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD
